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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                     CASE NO: 20-21707-CV-MARTINEZ-BECERRA

   RAYMOND JAMES FINANCIAL, INC.,

              Plaintiff,

   vs.

   FEDERAL INSURANCE COMPANY;
   TRAVELERS CASUALTY AND SURETY
   COMPANY OF AMERICA; GREAT
   AMERICAN INSURANCE COMPANY;
   BEAZLEY INSURANCE COMPANY, INC.;
   AND ST. PAUL MERCURY INSURANCE
   COMPANY

              Defendants.


                 DEFENDANTS’ RESPONSE IN OPPOSITION TO
               PLAINTIFF’S MOTION TO EXCLUDE DEFENDANTS’
           EXPERTS AND MEMORANDUM OF LAW IN SUPPORT THEREOF
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          Federal Insurance Company, Travelers Casualty and Surety Company of America, Great
   American Insurance Company, Beazley Insurance Company, Inc., and St. Paul Mercury Insurance
   Company (collectively, the “Insurers”) submit the following response in opposition to Plaintiff’s
   motion to exclude the testimony of Gregory Hagarty and Sander Ressler. (D.E. 127).
                                          INTRODUCTION
          Raymond James Financial, Inc. (“RJF”) seeks insurance coverage on the theory that Joel
   Burstein (“Burstein”) colluded with Ariel Quiros (“Quiros”) to embezzle money from a series of
   limited partnerships associated with the Jay Peak ski resort. Insurers denied coverage, in part, on
   the basis that (1) RJF did not prove that Burstein acted dishonestly or colluded with Quiros; and
   (2) RJF was aware of the conduct it now characterizes as dishonest prior to the inception of its
   financial institution bonds. In light of these disputed issues, Insurers disclosed two credentialed
   experts to address these focused issues: Greg Hagarty (“Hagarty”) and Sander Ressler (“Ressler”).
          RJF never addresses the true point of Hagarty’s and Ressler’s opinions. It unnecessarily
   emphasizes insurance claim handling, contractual definitions, obligations of good faith, and other
   contractual duties, even though those issues have nothing to do with Hagarty’s or Ressler’s
   opinions. Neither offered any opinions on those topics or purported to offer opinions on those
   topics. Instead, they offered opinions directed to RJF’s allegations of dishonesty and its inaction
   upon learning of conduct now characterized as dishonest. Both experts opine why RJF’s conduct
   (in accusing Burstein of dishonesty and failing to report a claim upon learning of the alleged
   dishonesty) deviated from industry standard and why application of industry standards refutes
   RJF’s theory of coverage. Those opinions are intended to help the jury evaluate the basis for RJF’s
   claim and render a decision on two disputed issues above. RJF ignores the relevance of these
   opinions because Hagarty and Ressler offer admissible, reliable and helpful opinions consistent
   with local precedent.
          First, RJF’s manufactured allegation of dishonesty ignores exculpatory facts – including
   repeated disclosures to and approvals by RJF’s executives. Because lay jurors are unfamiliar with
   indicia of fraud, Insurers disclosed Hagarty, a Certified Fraud Examiner and former FBI agent
   with over 25 years of experience, to explain to common indicia of dishonesty and collusion. That
   experience will assist the jury in evaluating the basis for RJF’s allegations, whether RJF accounted
   for exculpatory factors, understand the complex transactions underlying RJF’s claim and resolve
   the disputed issues. While RJF may prefer the jury render an uneducated decision, this Court

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   commonly admits such opinions as helpful and relevant in claims. Perlman v. Am. Express
   Centurion Bank, No. 19-61386, 2021 WL 2592175 at *1 (S.D. Fla. Mar. 26, 2021) (opinion on
   indicia of fraud admitted to assist jury evaluate fraud claim); Coquina v. Rothstein, No. 10-60786,
   2011 WL 4949191 at *4 (S.D. Fla. Oct. 8, 2011) (expert allowed to opine on “red flags” of fraud).
          Second, Insurers denied coverage because RJF knew about the conduct it characterizes as
   dishonest prior to the inception of its current financial institution bonds. RJF does not deny such
   knowledge or its failure to provide notice of a claim upon learning of the conduct it now paints as
   collusive, but disclosed an expert (Clay Grumke (“Grumke”)) to defend its inaction. While Insurers
   contest the admissibility of Grumke’s opinions, they disclosed Ressler as a rebuttal expert to opine
   on custom and practice in the insurance industry. That opinion directly rebuts Grumke’s opinion
   and will help the jury understand risk management practices (a subject outside the knowledge of a
   lay jury) and evaluate RJF’s claim.
          Faced with focused opinions offered by documented experts that directly undermine its
   claim, RJF seeks exclusion with disjointed arguments divorced from Ressler’s and Hagarty’s
   actual opinions. It over-emphasizes Hagarty’s alleged inexperience with insurance, despite the fact
   that he was not offered as an insurance expert and his law enforcement credentials provide a stand-
   alone basis for his opinions. U.S. v. Benitez, No. 14-cr-124, 2015 WL 5542449, at *3 (M.D. Fla.
   Sept. 15, 2015). It criticizes Hagarty and Ressler for failing to identify textbook support for their
   opinions, despite the fact that their experience alone can (and does) provide sufficient basis for
   expert opinion. U.S. v. Frazier, 387 F.3d 1244, 1261 (11th Cir. 2004).
          Unlike RJF, Insurers disclosed experts to assist the jury with understanding the context of
   this claim, and industry principles directly relevant to their evaluation of RJF’s claim. Those
   experts will explain industry practices outside the knowledge of a lay juror – thereby providing
   context to RJF’s claim and enabling the jury to properly weigh the disputed issues. Because
   Ressler and Hagarty offer expert opinions helpful to the jury based upon documented expertise,
   RJF’s motion to exclude should be denied.

                               OVERVIEW OF EXPERT OPINIONS
          RJF’s motion glosses over Hagarty’s and Ressler’s expertise, and mischaracterizes the
   scope and substance of their opinions. Before explaining the legal flaws in RJF’s arguments,
   Insurers will explain Hagarty’s and Ressler’s backgrounds, the scope of retention, substance of
   their opinions and the nexus between their opinions and RJF’s allegations.
                                                    2
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             A.       GREGORY HAGARTY
             Hagarty is a Certified Fraud Examiner in New York. (D.E. 127-1, p. 7).1 From 1989
   through 2015, Hagarty worked as a Special Agent of the FBI. During his tenure at the FBI, he
   investigated white-collar crime, and supervised a squad of agents investigating white-collar
   crimes. Id. Hagarty’s experience included participating in the investigation of Bernard Madoff’s
   Ponzi scheme and large mortgage fraud scheme. Id. Following his work with the FBI, Hagarty
   worked at a private investigation firm (Alpha Group) from (February 2015 through August 2016),
   the consulting division of Baker Tilly from (August 2016 through April 2018), and operated his
   own consulting firm (Lighthouse Strategies LLC). (Id. at 8). In those positions, he was routinely
   engaged to assist in the investigation of and evaluation of cases involving fraud. Id.
             Relying upon his law enforcement and consulting experience, Hagarty has experience
   analyzing evidence for “indicia of collusion, dishonesty, and concealment of relevant
   information.” Id. at 7. For example, Hagarty investigated a multi-year mortgage fraud scheme to
   determine whether individuals were colluders with the alleged fraudulent actor or whether the
   individuals had fallen for the alleged fraudulent actor’s “persuasive, convincing stories.” Id. He
   investigated the New York mafia for evidence of “collusion, dishonesty, concealment, and
   participation in criminal activities.” Id. He also investigated a public corruption scheme, looking
   for “collusion among elected officials and an individual seeking to obtain county government
   contracts through bribery and other corrupt means.” Id. at 8.
             In light of that experience, Insurers retained Hagarty to opine on how investigators identify
   and evaluate evidence when evaluating allegations of dishonestly and collusion. (D.E. 127-1, p.
   9). Insurers did so as a means of assisting the jury in identifying indicia of fraud/collusion, and
   factors undermining allegations of fraud/collusion. As a result of his expertise in acting in the
   role of an investigator and analyzing available evidence, and through a reasonable degree of
   professional certainty, Hagarty reached the opinion that RJF (and its expert, Steve Urcia (“Urcia”))
   “did not adopt a reasonable investigatory approach designed to objectively weigh whether Burstein
   acted dishonestly and colluded with Quiros,” and that they “discounted (or ignored) exculpatory
   evidence reflecting wide-ranging knowledge and approval of the transactions they now
   characterize as dishonest.” Id. Hagarty opines that RJF’s failure to apply a reasonable investigatory
   approach “omits critical context and events that in [his] experience are inconsistent with the

   1
       Hagarty attested to his qualifications during his deposition. (Dkt. 127-2, pg. 55-56, 64).
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   conclusion that Burstein colluded with Quiros.” Id.
             B.       SANDER RESSLER
             Ressler has been the Managing Director of Essential Edge Companies from June 2011 to
   present, a firm devoted to performing independent investigations of broker-dealers suspected of
   fraudulent and abusive sales practices. (D.E. 127-3, pp. 7, 21).2 Prior to forming Essential Edge,
   Ressler served as the President and Chief Compliance Officer of EMG Capital, Inc. from June
   2012 to August 2014. In that role, he ensured compliance with anti-money laundering and other
   federal and state regulations. Id. Ressler also served as Compliance Officer and Anti-Money
   Laundering Officer at Summit Brokerage Services, Inc.; Multi-Financial Securities Corporation,
   and American General. Id. at pp. 8, 21. In these roles, Ressler drafted and implemented written
   supervisory procedures, handled FINRA and SEC examinations, and managed compliance. Id.
             The Insurers retained Ressler to rebut Grumke’s opinion as to “whether [RJF] acted in a
   prompt and timely manner in reporting a loss to the insurers assuming its allegations of dishonesty
   as true and in light of facts disclosed to [RJF]’s legal department.” (Id. at 7). In light of RJF’s
   allegation that it timely disclosed its claim, Ressler opined on:
             A. whether a reasonable securities broker-dealer would expect that the events and
             transactions disclosed to RFI’s legal department would likely result in a loss;
             B. whether a reasonable securities broker-dealer would provide notice after [RJF]’s legal
             department learned of the specific events and transactions discussed below; C. whether
             [RJF]’s legal department acted in accordance with industry custom and practice in
             reporting (or failing to report) an insurance claim after Burstein’s SEC testimony in March
             27, 2014; and
             D. explain how a reasonable broker-dealer would have reacted after Burstein’s SEC
             testimony on March 27, 2014.

   Id. As a result of his expertise in acting as a Compliance Officer and AML Officer, and through a
   reasonable degree of professional certainty, Ressler reached the opinion:
             that attorneys in [RJF]’s legal department learned on at least eight occasions before October
             2015, of events that (1) would cause a reasonable securities broker-dealer to assume that a
             loss of a type covered by the bonds had been or would be incurred; and (2) would lead a
             reasonable securities broker-dealer to provide notice to its insurers. As detailed below,
             [RJF]’s legal department was aware as early as March 2014 of questionable transactions in
             a client account and transactions suggesting that Quiros used partnership funds for personal
             benefit and to pay his debt to Raymond James. A reasonable securities broker-dealer
             following industry customs and practices would have appreciated the implications of those
             transactions, the potential for a loss, and provided notice at the time they first learned of
             those transactions in order to preserve their rights to recover under the bonds. They would


   2
       Ressler attested to his qualifications during his deposition. (Dkt. 127-2, pg. 29).
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          have done so because customers commonly pursue claims against securities broker-dealers
          once they learn of misuse or alleged misuse of their funds.

   Id. In sum, Ressler opines on how a reasonable securities broker-dealer would handle the events
   and transactions involved in this matter (D.E. 127-3, p. 7) and whether RJF’s Legal Department
   acted in accordance with industry custom and practice. Id.
                                      STANDARD OF REVIEW
          While Federal Rule of Evidence 702 allows expert testimony, an expert can only testify
   where: (a) the expert’s scientific, technical, or other specialized knowledge will help the trier of
   fact to understand the evidence or to determine a fact in issue; (b) the testimony is based on
   sufficient facts or data; (c) the testimony is the product of reliable principles and methods; and (d)
   the expert has reliably applied the principles and methods to the facts of the case. Daubert v.
   Merrell Dow Pharms., 509 U.S. 579, 592 (1993); Cotromano v. United Tech., No. 13-cv-80928,
   2018 WL 2047468 at *14 (S.D. Fla., May 2, 2018). The trial court acts as the “gatekeeper” to such
   testimony. Corwin v. Walt Disney, 475 F.3d 1239, 1250 (11th Cir. 2007). To facilitate that analysis,
   the Eleventh Circuit has established a three-part test: “(1) the expert is qualified to testify
   competently regarding the matters he intends to address; (2) the methodology by which the expert
   reaches his conclusions is sufficiently reliable as determined by the sort of inquiry mandated in
   Daubert; and (3) the testimony assists the trier of fact, through the application of scientific,
   technical, or specialized expertise, to understand the evidence or to determine a fact in issue.”
   Hendrix ex rel G.P. v. Evenflo, 609 F.3d 1183, 1994 (11th Cir. 2010).
          Qualifications: A party must demonstrate each of its experts is “qualified as an expert by
   knowledge, skill, experience, training, or education.” Cordoves v. Miami-Dade Cty., 104 F. Supp.
   3d 1350, 1356 (S.D. Fla. 2015). This analysis requires the Court to “… examine the credentials of
   the proposed expert in light of the subject matter of the proposed testimony.” Jack v. Glaxo
   Wellcome, Inc., 239 F. Supp. 2d 1308, 1314 (N.D. Ga. 2002). The expert must demonstrate
   knowledge of something “beyond the understanding and experience of the average citizen.” U.S.
   v. Rouco, 765 F.2d 983, 995 (11th Cir. 1985). In effect, the expert must offer testimony of “the
   kind that enlightens and informs lay persons without expertise in a specialized field.” U.S. v.
   Burchfield, 719 F.2d 356, 357 (11th Cir. 1983).
          Reliability: After determining an expert is qualified to testify competently, the court must
   determine whether the methodology the expert used in reaching his conclusions is reliable. Frazier,


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   387 F.3d at 1260. The Daubert Court specified “[t]he inquiry envisioned by Rule 702 is [] a
   flexible one.” Daubert, 509 U.S. 579 at 594; see also Kumho Tire Co. v. Carmichael, 526 U.S.
   137, 139 (1999) (interpreting Daubert and explaining that “reasonable measures of reliability in a
   particular case is a matter that the law grants the trial judge broad latitude to determine”). Expert
   testimony may be deemed reliable if it is based upon personal knowledge or experience, as
   “[s]tandards of scientific reliability, such as testability and peer review, do not apply to all forms
   of expert testimony.” American General Life Ins. Co. v. Schoenthal Family, LLC, 555 F.3d 1331,
   1338 (11th Cir. 2009) (citing Kumho Tire, 526 U.S. 137 at 151). When a witness relies “on
   experience, then the witness must explain how that experience leads to the conclusion reached,
   why that experience is a sufficient basis for the opinion, and how that experience is reliably applied
   to the facts.” Coquina, 2011 WL 4949191 at *1.
          Helpfulness: Expert testimony must assist the trier of fact. Expert testimony is helpful to
   the trier of fact “if it concerns matters that are beyond the understanding of the average lay person.”
   Frazier, 387 F.3d 1244 at 1262; King v. Cessna Aircraft, No. 03- 20482, 2010 WL 1980861, at *5
   (S.D. Fla. May 18, 2010). Expert testimony is helpful if it is precise, specific, and the factual basis
   is adequately explained. Gomez v. General Nutrition, 323 F. Supp. 3d 1368, 1378 (S.D. Fla. 2018).
                                              ARGUMENT
   I.     HAGARTY’S OPINION ON FRAUD INVESTIGATIONS AND INDICIA OF
          FRAUD ARE ADMISSIBLE, RELIABLE AND HELPFUL.
          Although RJF accuses Burstein of dishonesty, RJF could not identify any employees
   willing to support its false narrative or to testify that they ever witnessed Burstein commit a
   dishonest act. In fact, not a single RJF fact witness deposed during discovery testified that Burstein
   acted dishonestly or was willing to accuse him of conspiring with Quiros. Unable to identify any
   percipient witnesses willing to support its claim, RJF manufactured a claim by mischaracterizing
   Burstein’s role and conduct, and ignoring repeated disclosures of Quiros’ transactions and
   executive approval of those transactions. It then disclosed an alleged expert, Steve Urcia, to narrate
   its self-serving and subjective allegations.
          Because an expert cannot opine on the ultimate question of dishonesty, Defendants ask this
   Court to exclude Urcia as an expert and disclosed Hagarty as an expert. Unlike Urcia, Hagarty
   does not offer opinions on the ultimate question of Burstein’s conduct, but instead, educates the
   jury on investigatory techniques employed to evaluate allegations of dishonesty and indicia of
   dishonesty/collusion. Those opinions will assist the jury with defining a process to evaluate the
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   allegations of dishonesty, and whether the disclosures and approvals RJF ignores undermine if
   allegations of dishonesty/collusion. Hagarty will assist the jury in structuring its analysis of RJF’s
   allegations by explaining whether RJF’s bald allegations of dishonesty “deviated from reasonable
   investigatory techniques designed to objectively weigh whether Burstein acted dishonestly or
   colluded with Quiros…” and assist the jury in identifying indicia of fraud/collusion and identifying
   “… exculpatory evidence reflecting wide-ranging knowledge and approval of the transactions they
   now characterize as dishonest.” (D.E. 127-1, p. 9). Such testimony comports with this Court’s
   precedent – which recognizes that former law enforcement officers can offer expert opinions on
   investigatory techniques and that experts can offer opinions on the indicia of fraud. Perlman, 2021
   WL 2592175 at *1; Coquina Investments, 2011 WL 4949191, at *4.
          Faced with precedent admitting analogous opinions, RJF falsely critiques an educated and
   experienced expert based upon immaterial arguments. For example, RJF complains that Hagarty
   lacks insurance experience – an irrelevant fact given that Insurers did not offer Hagarty as an
   insurance expert and his opinions do not depend upon any insurance experience. RJF treats
   insurance experience as a mandatory prerequisite, but its own experts lack such experience too.
   Each of RJF’s own experts openly acknowledged that they lack relevant insurance experience:


    Expert      Admission                                                      Citation
    Steve        Q: So would you agree that you have no expertise in           Exhibit 1,
    Urcia             financial institution bonds or insurance?                pp. 261:17-262:02
                 A: That would be correct.
    Clay        “I’ve not worked for an insurance company, nor have I          Exhibit 2,
    Grumke      practiced in that area, worked in that area.”                  p. 28:05-16
    Jorge        Q:     … Do you have any experience with financial            Exhibit 3,
    Baez              institution bonds?                                       p. 12:05-12:08
                 A.     No, I have not seen these types of bonds before.

   RJF resorts to a hypocritical argument to distract from the admissibility of Hagarty’s opinions.
          RJF pursued a claim on the false notion that Burstein colluded with Quiros to defraud the
   Jay Peak partnerships. That claim, RJF admits in its complaint, depends upon proof that Burstein
   (1) acted dishonestly; and (2) colluded with Quiros. While an expert cannot opine on the existence
   of dishonesty and collusion, he can assist the jury in identifying indicia of dishonesty/collusion
   and valid investigatory techniques applied when identifying dishonesty/collusion. Therein lies
   Hagarty’s expertise and helpfulness – assisting the trier of fact in evaluating RJF’s allegations and

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   the merits of those allegations.
          A.      HAGARTY’S LAW ENFORCEMENT EXPERIENCE QUALIFIES HIM AS AN EXPERT.
          RJF’s challenge to Hagarty’s experience and qualifications teeters on a series of false
   premises. Seeking to narrowly paint this case as an insurance dispute, RJF argues that Hagarty
   lacks experience in insurance, at a broker/dealer, with insurance claims handling and the insured’s
   duty under a financial institution bond. (D.E. 127, pp. 3, 7-8). This entire discussion is a red
   herring. RJF spends pages discussing an Insurers’ duty to investigate and act in good faith and
   claim handling testimony [D.E. 127, pp. 3-4, 9, 11-12], despite the fact that Hagarty provides no
   opinions about claim handling and claim handling is irrelevant in this contract action. Braddy v.
   Infinity Assurance Ins. Co., No. 615CV119ORL28GJK, 2016 WL 1446202, at *2 (M.D. Fla. Apr.
   11, 2016) (insured’s bad faith claim against insurer cannot be pursued until after liability for
   coverage is determined under the policy).
          RJF focuses on immaterial claims because in reality it cannot dispute Hagarty’s experience
   and relevance. RJF’s claim rises and falls on RJF’s ability to prove that Burstein acted dishonestly
   and colluded with Quiros. That question is not an issue of law, a matter of insurance or a matter
   of claim handling. Absent summary judgment, the jury will be asked to weigh Burstein’s conduct
   and identify indicia of fraud. Hagarty can assist in that process based upon his law enforcement
   experience, investigatory experience and credentials as Certified Fraud Examiner. That experience
   qualifies him to offer an opinion in this case.3
          Rule 702 permits a person to qualify as an expert based upon knowledge, skill, experience,
   training, or education. Frazier, 387 F.3d at 1261. Reliability is different than believability or
   persuasiveness (which are and remain an issue for the trier of fact). Rink v. Cheminova, Inc., 400
   F.3d 1286, 1293 n. 7 (11th Cir. 2005). Accordingly, courts recognize that law enforcement
   experience amply qualifies a witness to offer expert opinion on investigatory techniques and
   indicia of fraud/collusion. U.S. v. Nelson, No. 17-cr-00533, 2021 WL 75757, at *10 (N.D. Ca.,


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     RJF wrongly disputes Hagarty’s qualifications as an expert based upon whether he applied
   scientific methods, or textbook standard. RJF cites to Nemir v. Mitsubishi Motors, 200 F. Supp.
   2d 770 (E.D. Mich. 2002) to support the notion that an expert must document how his experience
   supports his opinions (D.E. 127, pp. 10-11), but the Sixth Circuit reversed Nemir. 381 F.3d 540,
   554 (6th Cir. 2004). Consistent with that decision, Hagarty explained that his law enforcement and
   investigatory experience guided his evaluation in this matter and how he applied that to
   engagement. (D.E. 127-1, pp. 7-8). He demonstrates knowledge beyond the experience of a lay
   juror and that will assist lay jurors.
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   Jan. 8, 2021); CGC Holding Company, LLC v. Hutchens, No. 11-cv-01012, 2017 WL 1435857, at
   *4-5 (D. Co., Apr. 20, 2017); U.S. v. Poulsen, 543 F. Supp. 2d 809, 811-12 (S.D. Ohio 2008); U.S.
   v. Motsenbocker, No. CR-10-371, 2011 WL 902121, at *4 (S.D. Ohio, Mar. 15, 2011); U.S. v.
   Benitez, No. 14-cr-124, 2015 WL 5542449, at *3 (M.D. Fla., Sept. 15, 2015).
          Benitez recognized law enforcement credentials as a basis for expert testimony. In that
   case, the witness sought to offer opinions based upon his experience as a police officer. Like RJF,
   the government challenged the witness’ credentials and argued that his law enforcement and
   investigatory experience did not qualify him as an expert. The district court rejected that argument:
          And finally the Government states that Olsen’s expert opinion does not meet the
          Daubert standards. … The Government’s arguments go to the weight of the
          testimony offered by Olsen rather than its admissibility. Olson has substantial
          experience in private investigations and law enforcement. His years of experience
          can assist the jury in understanding the issues in Count II more than the opinion of
          the average layman.

   2015 WL 5542449, at *3.
          Benitez is consonant with that of other courts of appeals. United States v. Smith, 919 F.3d
   825, 835 (4th Cir. 2019) rejected a Daubert-based challenge to admission of opinions upon
   experience investigating gang-related crimes. The court explained that the witness was qualified
   “as an expert in drug and gang terminology” because he “was a twelve-year veteran of the FBI
   with substantial experience in drug and gang investigations (conducting controlled buys,
   interviewing drug dealers and gang members, using gang members as confidential sources,
   listening to thousands of recorded conversations, and so forth).” Id. Finding the witness qualified
   to testify as an expert, the court next held that he “employed a sound methodology” because he
   compared the facts at issue in that case with “his experience with other investigations….” Id. at
   836; see also U.S. v. Parkhurst, 865 F.3d 509, 516-17 (7th Cir. 2017) (stating that “(t)raining and
   experience are proper foundations for expert testimony,” that such testimony is admissible
   “without requiring ‘scientific methodologies’ or ‘peer review,’” and that law-enforcement experts
   may point to “factors such as the officer’s years of experience and number of investigations”).
          CGC Holding Company applied that rationale while upholding admission of expert opinion
   on common methodologies employed to commit theft. In that case, the witness sought to offer
   opinion testimony about the characteristics of fraud. Citing the witness’ experience with the FBI,
   the district court held that law enforcement experience (including experience investigating fraud)
   qualified the witness to testify about the characteristics of fraud: “Baker’s FBI career enhanced
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   his basic accounting background and provided training and hands-on experience at a high level in
   investigating fraudulent schemes. That is what makes him qualified, perhaps uniquely qualified,
   to express opinions in this area.” 2017 WL 1435857 at *3.4
          As in CGC Holding, Hagarty possesses specialized knowledge and experience
   investigating and identifying indicia of fraud, dishonesty and collusion. After being accredited as
   a Certified Fraud Examiner, Hagarty worked at the FBI and as a private consultant. During his
   expansive experience, he investigated organized crimes and white-collar crimes – including
   participating in the investigation of Bernard Madoff, participating in the investigation of mortgage
   fraud, and investigating bribery and collusion among public officials. (D.E. 127-1, pp. 7-8). That
   documented experience qualifies Hagarty to offer expert opinions about the common indicia of
   fraud/collusion; common techniques applied to investigate and evaluate allegations of fraud and
   collusion; and factors commonly weighed when evaluating allegations of fraud and collusion.
          B.      HAGARTY’S OPINIONS ARE ADMISSIBLE AND HELPFUL.
          Supported by a single sentence, RJF baldly asserts without support that Hagarty’s
   testimony is not helpful to the trier of fact because Hagarty did not reach an opinion on the ultimate
   question of whether Burstein acted dishonestly. (D.E. 127, pp. 17-19). Hagarty did not offer such
   an opinion because any such opinion is inadmissible as it infringes on the role of the jury. U.S. v.
   Long, 300 F. App’x 804, 814–15 (11th Cir. 2008) (statement that company “was an artifice or
   scheme to defraud” was “plainly inadmissible”); U.S. ex rel. Armfield v. Gills, No. 07-cv-2374,
   2013 WL 371457, at *3 (M.D. Fla. Jan. 30, 2013) (expert “not be permitted to … testify to whether
   Defendants committed Medicare fraud or fraud in general”); Clarke v. Healthsouth, No. 14-cv-
   778, 2021 WL 129821, at *6 (M.D. Fla., Jan. 14, 2021) (excluding expert witness from opining
   on whether defendant acted “fraudulently”).
          Rather than interfering with the jury’s role, Insurers disclosed Hagarty to assist the jury by
   explaining to them common indicia of fraud and reasonable investigatory techniques used to


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     RJF relies upon Rosado v. Deters, 5 F.3d 119 (5th Cir. 1993) to argue that Hagarty’s prior
   compliance experience is outdated. (D.E. 127, p. 8). Rosado excluded an accident reconstruction
   expert solely because he had not practiced for twenty-five years, had not taken any refresher
   courses, and admitted that he could not establish the bases for his opinion. Id. at 124. That is not
   the case here, as Hagarty is a certified fraud examiner with over twenty years of experience
   investigating white collar crimes. (D.E. 127-1, pp. 7-8). RJF ignores Hagarty’s vast experience
   including, among others, the investigations into the Bernie Madoff securities fraud scheme and a
   multi-year mortgage fraud scheme. Id.
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   evaluate the existence of dishonesty and collusion. Unlike opinions on the ultimate question of
   whether collusion and dishonesty exist, Hagarty’s opinions are admissible because indicia of
   fraud/collusion and weighing allegations of such conduct are beyond the common knowledge of a
   lay juror. Courts commonly hold such opinions to be admissible because they are helpful to the
   jury in weighing allegations of fraud. Perlman, 2021 WL 2592175 at *1; Coquina Inv., 2011 WL
   4949191, at *4; see also Branch Banking & Trust Co. v. Witmeyer, No. 10-cv-55, 2011 WL
   3297682, at *9 (E.D. Va. Jan. 6, 2011); New England Petroleum v. Daibes Oil, LLC, No. 14-cv-
   726, 2018 WL 1358819, at *7 (D. N.J. Mar. 16, 2018); Jennings v. U.S., 2005 WL 1387987, at *3
   (S.D.N.Y. June 6, 2005).
          This Court upheld the admissibility of an analogous opinion less than six months ago in
   Perlman. In that case, the plaintiff disclosed a certified fraud examiner to offer an opinion on
   specific circumstances that exhibited indicia of fraud. The defendant challenged the admissibility
   and helpfulness of such an opinion, but this Court rejected that challenge: “Provided that
   Defendants properly qualify Kapila, he may testify about his observations made during the forensic
   accounting investigation and identify the specific circumstances that, in his expert opinion,
   exhibited indicia of fraud.” 2021 WL 2592175, at *1.
          Coquina Investments reached the same conclusion. In that case, a defrauded investor sued
   a bank alleging that it facilitated a Ponzi scheme. In support of that claim, the defendant disclosed
   an expert to offer opinions on “red flags” of fraud. The plaintiff sought to exclude such opinions
   as “unhelpful” to the jury. While the court acknowledged that an expert cannot weigh facts and
   opine on the existence of fraud, the court allowed the expert to identify indicia of fraud: “I also
   find that Lessner’s opinions regarding due diligence would be helpful to the jury. Whether Coquina
   adequately performed its due diligence and failed to identify or recognize certain ‘red flags’ are
   matters beyond the understanding of the average lay person.” 2011 WL 4949191, at *4.
          Hagarty’s opinions track the decisions in Perlman and Coquina. As in those cases, Hagarty
   reaches the conclusion that RJF “…discounted (or ignored) exculpatory evidence reflecting wide-
   ranging knowledge and approval of the transactions they now characterize as dishonest.” (D.E.
   127-1, p. 9). He then supports that conclusion and will explain to the jury how RJF’s allegations
   fail to account for exculpatory factors – such as Burstein’s disclosures about Quiros’s accounts
   and transactions to his supervisor, in-house counsel, the AML department, and employees in other
   departments; Burstein’s termination of the relationship with Quiros when it no longer served

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   Raymond James; processing and approval of Quiros’s allegedly fraudulent transactions by other
   employees and supervisors; and Burstein’s testimony before the SEC and disclosure to in-house
   counsel. (Id. at p. 10). A jury unfamiliar with fraud may not recognize these factors as inconsistent
   with fraud/collusion and why these factors undermine RJF’s claim. That is why this Court
   admitted analogous opinions in Perlman and Coquina.
           RJF criticizes Hagarty for failing to opine on whether Burstein acted dishonestly and
   colluded with Quiros, but as this Court recognized in Coquina an expert cannot opine on that issue.
   Accordingly, the fact that Hagarty did not reach an opinion on whether Burstein acted dishonestly
   does not negatively impact the admissibility of his opinion, but instead reflects faithful adherence
   to this Court’s precedent. That is why New England Petroleum considered and rejected that very
   argument. In that case, the expert offered opinions on the indicia of fraud, without offering an
   opinion on whether fraud in fact existed. Like RJF, the movant argued that the failure to reach an
   opinion on whether fraud existed rendered the expert’s opinion inadmissible. The district court
   rejected that argument as “meritless.” 2018 WL 1358819, at *6. The district court admitted the
   opinion because while an expert may not opine on the ultimate question of whether a party engaged
   in fraud, the expert may assist the jury to identify indicia of fraud:
           Accordingly, although the Spector Defendants contend that Love refused to opine
           that the Spector Defendants had committed fraud, Love’s true contention was that
           whether the Spector Defendants are in fact guilty of fraud is a question for the jury.
           For the same reason, Love chose to opine on whether “indicia” of fraud existed in
           the present case, rather than conclude fraud occurred. The Court does not find that
           such qualifications make Love’s opinion so speculative as to render it excludable.

   Id. at *7.
           Unlike RJF and its experts, Insurers and Hagarty do not seek to infringe on the jury’s role
   as the ultimate arbiter of fact. Instead, Insurers disclosed Hagarty – an experienced investigator
   with expertise identifying indicia of fraud and collusion – to assist the jury in understanding the
   context of RJF’s claim, factors suggestive of fraud/collusion, and factors inconsistent with
   fraud/collusion. Such expertise will assist the jury in its evaluation of RJF’s allegations and are,
   under this Court’s precedent, the proper subjects of admissible expert opinion.
           C.     HAGARTY RELIED UPON RELIABLE METHODS DERIVED FROM HIS EXPERIENCE.




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          Citing irrelevant cases involving distinguishable opinions,5 RJF attempts to nail a square
   peg in a round hole by relying largely upon scientific expert cases in asserting that Hagarty must
   perform testing, or consult relevant publications or studies, to reach his conclusions. (D.E. 127,
   pp. 13-14). Hagarty explained his methodology and basis for his opinions in his report. As detailed
   therein, Hagarty explained common techniques employed to investigate allegations of fraud –
   detailing how an investigation into such allegations must be objective, apply a healthy sense of
   skepticism, look at facts from the accused perspective, consider contemporaneous communication
   (as memories faded), and organize information chronologically. (D.E. 127-1, p. 9).
          That methodology – derived from years of experience – provides a reliable basis for
   Hagarty’s opinions. Since Hagarty’s opinions are based upon experience, and not scientific
   principles, whether they can be “tested” is beside the point; Hagarty must explain how his
   experience leads to his conclusions. Frazier, 387 F.3d at 1261; McClain v. Metabolife Internat’l,
   Inc., 401 F.3d 1233, 1237 (11th Cir. 2005); U.S. v. Brown, 415 F.3d 1257, 1268 (11th Cir. 2005).
   Hagarty clearly does so. His report addresses how his experience leads to his conclusions and
   provides a detailed explanation as to what a reasonable investigator considers under each different
   analysis of certain facts and why the reasonable investigator considers those items. (D.E. 127-1,
   pp. 12-50). Thus, Hagarty’s testimony is reliable when considered under the appropriate standard.
          RJF intends to ask the jury to weigh complex financial transactions and to reach the
   conclusion that a financial advisor dishonestly colluded in a fraud. Hagarty cannot and will not
   offer any opinion on whether the financial advisor acted dishonestly or colluded with Quiros.
   Instead, he will assist the jury in its consideration of the case by explaining how investigators
   commonly evaluate allegations of dishonesty, and the indicia of fraud. Such opinions are
   admissible and will be helpful to the jury in evaluating RJF’s allegations.
          RJF attempts to persuade the court by criticizing Hagarty’s analysis and falsely accusing
   him of applying a standard he could not define. In an effort to manufacture a motion, it falsely
   alleges that Hagarty could not define “reasonable investigatory techniques.” (D.E. 127, p. 11). In


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     RJF cites Serrano v. American Airlines, Inc., No. 15-23382-Civ, 2016 WL 6600499 (S.D. Fla.
   Nov. 8, 2016) and Kirstein v. Parks Corp., 159 F.3d 1065, 1067 (7th Cir. 1998), but those cases
   involved scientific opinions not supported by testing or publications. Hagarty’s opinions contrast
   those within Serrano and Kirstein. Hagarty is not providing scientific opinions that can be tested.
   He provides nonconclusory opinions, based upon his years of experience investigating dishonest
   and collusive acts.
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   fact, Hagarty fully describes what he means by “reasonable investigatory techniques” as
   “techniques that are commonly employed in investigations.” (D.E. 127-2, 82:01-83:07). While
   RJF criticizes that definition, any such criticisms go to the weight of the testimony, not its
   admissibility.
           It is well-settled that the district court’s gatekeeper role under Daubert “is not intended to
   supplant the adversary system or the role of the jury.” Allison v. McGhan, 184 F.3d 1300, 1311
   (11th Cir. 1999). In other words, it is not the role of the trial court to make conclusions about the
   persuasiveness of the expert’s opinions, rather, “[v]igorous cross examination, presentation of
   contrary evidence, and careful instruction on the burden of proof are the traditional and
   appropriate means of attacking [debatable] but admissible evidence.” Daubert, 509 U.S. at 596
   (emphasis added). Challenges to assumptions made by an expert, as well as challenges to the
   expert’s opinions, go to the weight and credibility of the expert’s testimony, not to its admissibility.
   Ward v. Carnival Corp., No. 17-24628-CN, 2019 WL 1228063, at *7 (S.D. Fla. Mar. 14, 2019).
   “Indeed, ‘in most cases, objections to the inadequacies of a study are more appropriately
   considered an objection going to the weight of the evidence rather than its admissibility.’”
   Rosenfeld v. Oceania Cruises, Inc., 654 F.3d 1190, 1193 (11th Cir. 2011) (quoting Hemmings v.
   Tidyman’s Inc., 285 F.3d 1174, 1188 (9th Cir. 2002)); see also Quiet Tech. DC-8, Inc. v. Hurel-
   Dubois UK Ltd., 326 F.3d 1333, 1345 (11th Cir. 2003) (noting that “[n]ormally, failure to include
   variables will affect the analysis’ probativeness, not its admissibility”).6
           RJF cites to Benner v. NCL (Bahamas) Ltd., for support of the proposition that “[p]referred
   expert testimony generally will not help the trier of fact when it offers nothing more than what
   lawyers for the parties can argue in closing arguments.” No. 15-20585-civ, 2016 WL 11547583,
   at *4 (S.D. Fla. April 8, 2016). In that case, the court recommended excluding part of an expert
   opinion stating the plaintiff was pushed through a door when the jury could see the same through
   a video capturing the incident. Id. The court determined that the expert’s opinion regarding whether
   “the passengers’ actions whatever they were (be it pushing, lifting, or some other action), were in
   fact a decisive factor in Plaintiff’s fall” was helpful to the trier of fact. Id. Here, Hagarty opines on


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     RJF’s motion cites to numerous cases on the reliability of an expert’s testimony based upon the
   scientific methodology of an expert. (D.E. 127, pp. 12-13). Hagarty opines on whether RJF and
   Urcia employed reasonable investigatory techniques commonly employed to objectively weigh
   allegations of dishonesty and collusion. (D.E. 127-1, p. 9). Because Hagarty’s opinions are derived
   from his experience (not scientific methodology), RJF’s cases are irrelevant.
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   common indicia of fraud and reasonable investigatory techniques used to evaluate the existence of
   dishonesty and collusion. These are not simple observations based on facts that the jury can see
   through a video or anywhere else. Similar to the helpful testimony in Benner, Hagarty opines on
   how to identify decisive factors in evaluating the existence of dishonesty and collusion.
          Hagarty applied his documented experience in law enforcement and compliance to this
   case, as a means of assisting the jury identify indicia of fraud and collusion and to evaluate whether
   RJF’s allegations are the product of recognized investigatory techniques (or subjective perspective
   designed to manufacture an insurance claim). To the extent that RJF seeks to criticize Hagarty’s
   experience, it can do so through cross-examination. That criticism does not, however, provide a
   basis for exclusion of his opinions.
          D.      HAGARTY’S OPINIONS ARE ADMISSIBLE TO REBUT RJF’S PURPORTED EXPERT.
          RJF disclosed an expert, Urcia, to opine on whether Burstein acted dishonestly. Because
   Urcia simply narrates RJF’s theory of coverage and infringes on the role of the jury, Insurers have
   moved to exclude his opinion. Without waiving their objections to Urcia’s opinion, Insurers
   alternatively disclosed Hagarty in response to Urcia and to rebut his opinions. RJF never addresses
   Hagarty’s direct rebuttal of Urcia’s opinions or explains why Hagarty cannot directly rebut his
   opinions because RJF cannot viably admit Urcia’s opinions while objecting to the admission of
   Hagarty’s opinions.
          As reflected in Urcia’s report, RJF has proffered Urcia to purportedly opine on whether
   Burstein acted dishonestly. Urcia does not offer such testimony based upon any specialized
   knowledge of bonds or insurance. (Exh. 1, pp. 261:2-4; 261:17-262:2; 339:14-18.) Instead, Urcia
   subjectively interpreted facts RJF cherry-picked (Id. at pp. 338:23-339:7), weighed the credibility
   of witnesses he never met (Id. at pp. 63:3-6 and 116:5-10), and narrated a conclusion RJF spoon-
   fed to him. While such opinions are inadmissible for the reasons detailed in Insurers’ motion to
   exclude, RJF cannot offer Urcia and object to Hagarty’s opinions because Hagarty expressly
   responds to Urcia’s opinions and explains that the methodology underlying his opinions deviates
   from commonly applied investigatory techniques.
          As explained in Hagarty’s opinion, Hagarty evaluated Urcia’s opinions and methodology
   underlying his opinions and reached the conclusion that Urcia reached an unsupported and
   unreliable conclusion:



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          While Raymond James and Mr. Urcia concluded that Burstein committed
          dishonest acts and colluded with Quiros, their approach deviated from
          reasonable investigatory techniques designed to objectively weigh whether
          Burstein acted dishonestly and colluded with Quiros in that they failed to factor in
          the totality of circumstances; Raymond James’s policies and procedures;
          knowledge and approval of Burstein’s supervisor (Frank Amigo) and other
          Raymond James personnel; review and approval by Raymond James’s Anti-Money
          Laundering (“AML”) department; and disclosure to and approval from Raymond
          James’s management and legal department. Thus, in my opinion, their conclusions
          are unsupported and unreliable.

   (D.E. 127-1, pp. 9-10) (emphasis added). RJF never addresses that opinion, let alone explains how
   it can reasonably object to the admission of a witness to challenge the reliability of its own expert
   and the methodology its own expert applied. It cannot do so based upon an alleged inexperience
   with insurance policies and financial institution bonds because Urcia lacks any such experience:
          Q:      So would you agree that you have no expertise in financial institution bonds
                  or insurance?
          A:      That would be correct.

   (Exh. 1, pp. 261:17-262:2.) Nor did Urcia even attempt to educate himself. Incredibly, he did not
   even read the Bonds themselves: “I didn’t read the bond.” (Id. at pp. 339:14-18; 261:2-4.).
                                                         ***
          Insurers disclosed Hagarty, a Certified Fraud Examiner and experienced fraud investigator,
   to assist the jury in explaining the indicia of fraud and collusion, and flaws in the methodology
   RJF applied when accusing Burstein of dishonesty. Such opinions are admissible, reliable and
   helpful under this Court’s precedent as it will assist the jury in understanding a subject beyond the
   knowledge of a lay juror. Alternatively, to the extent that the Court admits RJF’s expert (Urcia),
   Hagarty’s response to Urcia’s opinions are the proper subject of a rebuttal opinion as Hagarty
   addresses and responds to flaws in Urcia’s methodology.
   II.    RESSLER OFFERS ADMISSIBLE EVIDENCE OF INSURANCE PRACTICES.
          The Bonds are written on a “discovery” basis – meaning that they apply to loss first
   discovered during the bond period. (D.E. 39-1, p. 53). The Bonds define Discovery as occurring
   “when the Vice President of Corporate Insurance and/or Legal Department of the Insured first
   becomes aware of facts which would cause a reasonable person to assume that a loss of a type
   covered by this bond has been or will be incurred, regardless of when the act or acts causing or
   contributing to such loss occurred, even though the exact amount or details of loss may not then


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   be known.” (Id.). While RJF alleges that it provided notice of its claim in 2016 after a Receiver
   and investors filed suit, RJF knew about the conduct it now characterizes as dishonest long before
   those lawsuits.
          Insurers deny that Burstein acted dishonestly, but if RJF’s allegations are true, Discovery
   occurred before the inception of the Bonds because RJF’s Legal Department knew about the
   conduct it now characterizes as dishonest, at the latest, in March 2014. For example, RJF’s
   complaint alleges that Burstein colluded with Quiros by allowing him to use partnership funds to
   purchase the Jay Peak Resort, despite a directive prohibiting such a transaction: “Burstein then set
   in motion Quiros’ and his scheme, and began facilitating Quiros’ use of limited partnership assets
   to fund Q Resorts’ purchase of Jay Peak.” (D.E. 39, ¶ 36). Burstein openly disclosed that
   transaction in testimony before the SEC on March 27, 2014. RJF’s Associate General Counsel,
   Barracca, attended Burstein’s SEC examination and based upon that testimony, acknowledged
   learning that:
        “...the funds used to purchase the ski resort and other assets were derived from EB-5 assets,
         EB-5 investments” (Exhibit 3, Vol. II of Barracca Dep., p. 10:21-23);
        “...that Burstein was testifying that investor assets were put up for the purchase of the Jay
         Peak resort” (Id. at p. 11:12-16);
        “...Raymond James issued a margin loan secured by the funds MMSI (sic) transferred to
         Raymond James simultaneously with the transaction...” (Exhibit 5, Vol. I of Barracca Dep.,
         pp. 84:22-85:2); and
        Burstein recalled the seller advising that investor funds could not be used as collateral for a
         margin loan. (Id. at 88:2-20).
   Barracca – and, thus RJF’s legal department – was aware of the very transactions RJF now paints
   as corrupt by, at the latest, March 27, 2014.
          Insurers challenge RJF’s inconsistency, arguing that knowledge of the conduct RJF now
   characterizes as dishonest automatically constitutes Discovery – meaning that any claim is subject
   to the Bonds in effect, at the latest, in 2014. (D.E. 129, pp. 22-24). However, to the extent that
   the Court finds a question of fact, Insurers proactively disclosed Ressler as an expert. It did so
   because RJF intends to suggest to the jury that an insured can sit idle while aware of conduct it
   intends to later rely upon to support its claim. A jury unfamiliar with insurance could be confused
   by RJF’s tactics and wrongly perceive such conduct is normal and customary – when such conduct

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   is in fact contrary to recognized insurance practices.
          Therein lies the relevance of Ressler’s insurance expertise. Ressler has experience working
   for financial institutions, conducting investigations into incidents that may implicate insurance and
   deciding how and when to report such incidents. He can therefore educate the jury on normal and
   customary insurance practices within financial institutions and whether it is normal and customary
   for a financial institution to report a claim upon learning of conduct it may later rely upon to
   support a claim. That subject is outside the scope of a lay jury’s common knowledge and directly
   relevant to RJF’s intended argument – rendering Ressler’s opinions relevant and helpful. RJF’s
   arguments to the contrary contravene the record.
          A.      RESSLER IS QUALIFIED TO PROVIDE           THE   PROPOSED EXPERT TESTIMONY        AND
                  HIS TESTIMONY IS RELIABLE.
          RJF’s critique of Ressler’s qualifications focuses on an immaterial fact – namely that he is
   not an attorney. (D.E. 127, pp. 4, 12). Ressler is not, however, offering any opinions that require a
   law degree, as he is not seeking to opine on a legal duty. Instead, Ressler opines about whether,
   and when, RJF should have provided notice to the Insurers of a potential claim based upon what
   RJF claims is dishonest conduct. (D.E. 127-3, p. 7). Ressler has over 15 years of relevant
   experience in the financial industry. (D.E. 127-3, pp. 7-8, 21-22). It does not matter whether
   Ressler is an attorney. Ressler opines about the internal operations of a broker/dealers and how
   they decide whether to provide notice to an insurer. He does not opine how RJF’s Legal
   Department should have performed its legal duties – only on whether notice should have been
   provided to the Insurers to preserve RJF’s claim. (D.E. 127-3, p. 7). Thus, having a bar license is
   not a necessary predicate for his opinions.
          RJF tries to paint the dispute in legal terms, misleadingly suggesting that Discovery is tied
   to allegations of “loss of a type covered by this bond.”7 This is not a matter of law, but logic. RJF
   cannot now accuse Burstein of dishonesty, while denying that knowledge of such transactions
   constitutes Discovery. Either such conduct is not dishonest (in which case RJF is not entitled to
   coverage) or it is dishonest (and thus constitutes Discovery and triggers the required timely notice
   to the Insurers, which was not provided). Royal Trust Bank v. Nat’l Union Fire Ins. Co., 788 F.2d


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     RJF also challenges Ressler’s reliability based upon his scope of opinions as compared to the
   Bonds’ Discovery language. (D.E. 127, pp. 16-17). Just because RJF interprets the Bonds’
   language one way does not mean Ressler cannot opine on whether RJF needed to provide notice
   under a similar, but different, interpretation. (D.E. 127-4, pp. 115:09-116:22).
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   719, 721 (11th Cir. 1986); Utica Mut. Ins. Co. v. Fireman’s Fund Ins., 748 F.2d 118, 123 (2d Cir.
   1984); Alfalfa Elec. v. Travelers Indem. Co., 376 F. Supp. 901, 906 (W.D. Okla. 1973); St. Paul
   Fire & Marine Ins. Co. v. Bank of Stockton, 213 F. Supp. 716, 719–21 (N.D. Calif. 1963); USLIFE
   Savings & Loan Assoc. v. Nat’l Sur. Corp., 115 Cal. App. 3d 336, 344–45 (Cal. Ct. App. 1981).
          Ressler does not and will not offer a legal opinion, but he can explain to jury the practical
   handling of insurance claims and why an insured who desires to preserve a claim will immediately
   report conduct that it may later cite as a basis for coverage. (D.E. 127-3, pp. 14, 17-19). Ressler’s
   compliance experience qualifies him to testify about whether a reasonable insured, upon learning
   of facts it characterizes as dishonest, would immediately provide notice or await lawsuits. Ressler’s
   knowledge is beyond the understanding of the average citizen – individuals likely to be unfamiliar
   with commercial insurance policies and the decision-making process underlying the decision to
   provide notice of a claim under a commercial insurance policy. (D.E. 127-4, pp. 97:16-21, 108:07-
   109:01).
          RJF further contends that Ressler is not qualified to testify as an expert in this matter due
   to his lack of experience with fidelity bonds and testifying about fidelity bonds. (D.E. 127, p. 10).
   This argument applies equally to RJF’s experts – Urcia, Grumke, and Baez. None of those expert
   have any experience with financial institution bonds, but RJF nonetheless disclosed them as
   experts. RJF never explains why it can introduce experts without such experience, but then argue
   that such experience is a minimum qualification for Ressler.8 That inconsistency aside, RJF’s
   argument fails because Ressler (unlike RJF’s experts) has experience with fidelity bonds. (D.E.
   127-4, pp. 97:16-21,111:06-112:07).
          Given the subject matter of Ressler’s proposed testimony, he has sufficient credentials and
   knowledge beyond the understanding of the average citizen. (D.E. 127-3, pp. 21-22). Moreover,
   his opinions are reliable because he explains how his experience forms the basis for his opinions.
   (Id. at pp. 10-19). The Insurers retained Ressler solely as a rebuttal expert. To the extent that RJF’s
   expert, Grumke, is permitted to testify on this issue then Ressler should be permitted to rebut his
   opinions, and methodology.
          B.      RESSLER’S PROPOSED EXPERT TESTIMONY IS HELPFUL TO THE JURY AND WILL
                  NOT CONFUSE OR MISLEAD THE JURY.


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     To the extent that the Court finds that Ressler’s experience with fidelity bonds is a basis to
   exclude his testimony, then it must also exclude the testimony of Urcia, Grumke, and Baez.
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          RJF contends that Ressler’s testimony is not helpful to the jury because his testimony is
   disconnected from the language of the Bonds. (D.E. 127, p. 18). This argument, however, ignores
   the fact that Ressler was offered as a rebuttal expert designed to address and respond to arguments
   RJF’s expert, Clay Grumke, offered.       Insurers have moved to exclude Grumke’s opinions.
   However, to the extent that the Court admits Grumke’s opinions, Ressler’s opinions are necessarily
   admissible and helpful too.
          RJF seeks to offer Grumke to place his imprimatur on its untimely notice and inaction in
   the face of conduct it now characterizes as dishonest. In effect, it seeks to admit his testimony to
   suggest that an insured can disclaim dishonesty and later contradict itself by accusing an employee
   of dishonesty based upon conduct it long ago uncovered. Such an opinion is inadmissible, but to
   the extent that the Court allows that opinion, Ressler’s opinions are admissible because he directly
   addresses and rebuts Grumke’s premise – offering an opinion that a reasonable insured following
   industry practices would provide notice of a claim at the time of learning of potential dishonesty.
   (D.E. 127-3, p. 8). That opinion directly addresses and rebuts Grumke’s opinion and therefore is
   admissible for that purpose. RJF’s critiques about the opinions go to their weight, not their
   admissibility.
                                            CONCLUSION
          Insurers disclosed two qualified experts to offer expert opinions on subjects beyond the
   knowledge, skill and expertise of a lay jury. Their opinions were directed to the heart of RJF’s
   claim and are both reliable, relevant and admissible. For the reasons set forth herein, Insurers ask
   this Court to deny Plaintiff’s motion and for all other relief the court deems necessary and
   appropriate.




   Dated: August 20, 2021                        Respectfully submitted,

                                                 s/ Chantel Wonder
                                                 Chantel C. Wonder
                                                 Florida Bar No. 0087601
                                                 GORDON REES SCULLY MANSUKHANI
                                                 Miami Tower
                                                 100 SE Second Street, Suite 3900
                                                 Miami, FL 33131
                                                 Telephone: 813-523-4945

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Case 1:20-cv-21707-JEM Document 155 Entered on FLSD Docket 08/20/2021 Page 25 of 26




                                      Facsimile: 813-377-3505
                                      cwonder@grsm.com

                                      and
                                      Scott L. Schmookler, Esq.
                                      Sarah Riedl Clark, Esq.
                                      GORDON REES SCULLY MANSUKHANI
                                      One North Franklin, Suite 800
                                      Chicago, IL 60606
                                      Telephone: 312-980-6779
                                      sschmookler@grsm.com
                                      srclark@grsm.com

                                      Counsel for Federal Insurance Company


                                      /s/ Ryan J. Weeks
                                      E.A. “Seth” Mills, Jr., Esq.
                                      Florida Bar No. 339652
                                      Ryan J. Weeks, Esq.
                                      Florida Bar No. 5 7 8 9 7
                                      MILLS PASKERT DIVERS
                                      100 N. Tampa Street, Suite 3700
                                      Telephone: (813) 229-3500
                                      Facsimile: (813) 229-3502
                                      smills@mpdlegal.com
                                      rweeks@mpdlegal.com
                                      csoltis@mpdlegal.com

                                      Counsel for Travelers Casualty and Surety
                                      Company of America & St. Paul Mercury Insurance

                                      /s/ James M. Kaplan
                                      James M. Kaplan
                                      Florida Bar No. 921040
                                      KAPLAN ZEENA LLP
                                      2 South Biscayne Boulevard, Suite 3050
                                      Miami, Florida 33131
                                      Telephone: (305) 530-0800
                                      Facsimile: (305) 530-0801
                                      James.kaplan@kaplanzeena.com
                                      Elizabeth.salom@kaplanzeena.com
                                      service@kaplanzeena.com

                                      and


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                                                Michael Keeley
                                                Admitted Pro Hac Vice
                                                John R. Riddle
                                                Admitted Pro Hac Vice
                                                Clark Hill Strasburger
                                                901 Main Street, Suite 6000
                                                Dallas, Texas 75202-3794
                                                Telephone: (214) 651-4718
                                                Facsimile: (214) 659-4121
                                                mkeeley@clarkhill.com
                                                jriddle@clarkhill.com
                                                Counsel for Beazley Insurance Company, Inc.

                                                /s/ Dustin C. Blumenthal
                                                Dustin C. Blumenthal
                                                Florida Bar No. 0149871
                                                Goldberg Segalla
                                                222 Lakeview Avenue, Suite 800
                                                West Palm Beach, FL 33401
                                                Telephone: (561) 618-4485
                                                Facsimile: (561) 618-4549
                                                dblumenthal@goldbergsegalla.com
                                                lparker@goldbergsegalla.com

                                                and

                                                Stephen N. Dratch, Esq.
                                                Admitted Pro Hac Vice
                                                Franzblau Dratch, P.C.
                                                354 Eisenhower Parkway
                                                Livingston, New Jersey 07039
                                                Telephone: (973) 992-3700

                                                Counsel for Great American Insurance Company




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